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1                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF ILLINOIS
2                                     EASTERN DIVISION

3        ELOISE LOCKHART,                           )   Docket No. 13 C 9323
                                                    )
4                           Plaintiff,              )   Chicago, Illinois
                                                    )   May 26, 2015
5                     v.                            )   9:01 a.m.
                                                    )
6        HSBC FINANCE CORPORATION,                  )
         et al.,                                    )
7                                                   )
                            Defendants.             )
8

9                            TRANSCRIPT OF PROCEEDINGS - Status
                           BEFORE THE HONORABLE THOMAS M. DURKIN
10
         APPEARANCES:
11
         Pro Se Plaintiff:          MS. ELOISE LOCKHART
12                                  1721 Hillcrest Drive
                                    Irving, TX 75062
13

14       For the HSBC,              PILGRIM CHRISTAKIS LLP by
         MERS and                   MR. JASON A. JULIEN
15       Pilgrim Christakis         53 W. Jackson Boulevard, Suite 1515
         Defendants:                Chicago, IL 60604
16

17       For Defendants             ANSELMO LINDBERG OLIVER PC by
         Anselmo Lindberg           MR. ROBERT J. DEISINGER (via telephone)
18       Oliver and                 1771 W. Diehl Road, Suite 120
         Steven Lindberg:           Naperville, IL 60563
19

20       For Defendant              COLLINS BARGIONE & VUCKOVICH by
         Arnold Kaplan:             MS. KATHRYNE R. HAYES
21                                  One N. LaSalle Street, Suite 300
                                    Chicago, IL 60602
22

23       Court Reporter:            LAURA R. RENKE, CSR, RDR, CRR
                                    Official Court Reporter
24                                  219 S. Dearborn Street, Room 1432
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1             (In open court.)

2                    THE CLERK:     13 C 9323, Lockhart v. HSBC.

3                    THE COURT:     Good morning.

4                    MS. LOCKHART:      Good morning.

5                    MS. HAYES:     Good morning, your Honor.         Kathryne Hayes

6        for defendant Arnold Kaplan.

7                    MR. JULIEN:     Good morning, Judge.        Jason Julien for

8        the HSBC defendants, the MERS defendants, and the Pilgrim

9        Christakis defendants.

10                   MS. LOCKHART:      Good morning, your Honor.         Eloise

11       Lockhart, plaintiff.

12                   THE COURT:     All right.     We have a motion to vacate a

13       default.     And is that actually up today, or is that --

14                   MS. LOCKHART:      Yes, your Honor.      I -- I asked them to

15       set it for this hearing because I was in town --

16                   THE COURT:     Okay.

17                   MS. LOCKHART:      -- and I wanted to be present.          So he

18       said he would.      And he did, I think, but I don't see him here.

19                   MS. HAYES:     I'm not sure if he's here yet.

20                   THE COURT:     Okay.    Because I received a thick motion

21       on this, which I need to get from chambers anyway.                But why

22       don't we pass the case until the movant is here.

23                   MS. HAYES:     Thank you.

24                   THE COURT:     All right.

25            (The Court attends to other matters.)
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1                    THE CLERK:     13 C 9323, Lockhart v. HSBC.

2                    And Claire sent me an e-mail saying that defense

3        counsel would like to participate by phone.

4                    THE COURT:     Okay.

5             (Clerk places telephone call.)

6                    MR. DEISINGER:      Good morning.      Robert Deisinger.

7                    THE CLERK:     Hi, Mr. Deisinger.       This is Sandy with

8        Judge Durkin calling on 13 C 9323, Lockhart v. HSBC Finance.

9                    MR. DEISINGER:      Hi.   Thank you for calling me.

10                   THE CLERK:     Sure.

11                   THE COURT:     All right.     Let's have counsel on the

12       phone identify himself, then everyone in court identify

13       themselves.

14                   MR. DEISINGER:      Robert Deisinger for Anselmo Lindberg

15       Oliver and Steven Lindberg.

16                   MS. HAYES:     Good morning.      Kathryne Hayes for

17       defendant Arnold Kaplan.

18                   MR. JULIEN:     Good morning.      Jason Julien for the HSBC

19       defendants, the MERS defendants, and the Pilgrim Christakis

20       defendants.

21                   THE COURT:     All right.     We're here on defendants'

22       motion to vacate the default judgment.             I will be candid with

23       you.    I have not read it, and I saw a fairly lengthy filing

24       that came in into my box this morning.             I simply didn't have

25       time to read it.
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1                    MS. LOCKHART:      Good morning, your Honor.

2                    THE COURT:     Go ahead.

3                    MS. LOCKHART:      Eloise Lockhart, plaintiff.

4                    THE COURT:     I'm sorry, Ms. Lockhart.

5                    Ms. Lockhart, are you opposing the motion to vacate?

6                    MS. LOCKHART:      Yes, your Honor.

7                    THE COURT:     All right.     Do you want to file something

8        in writing?

9                    MS. LOCKHART:      Yes.

10                   THE COURT:     All right.     How much time do you want?

11                   MS. LOCKHART:      Two weeks, your Honor.

12                   THE COURT:     That's fine.      I'll give you 14 days to

13       file a response to the motion to vacate.

14                   And then, Mr. Deisinger, I'll give you time to file a

15       reply.    How much time do you want for that?

16                   MR. DEISINGER:      If I could also have two weeks, Judge.

17                   THE COURT:     That's fine.      So we'll give you those

18       dates right now.

19                   THE CLERK:     I think that would be June 9th then and

20       June 23rd.

21                   THE COURT:     All right.     And I'm going to dispose of

22       this relatively quickly one way or the other, probably orally,

23       and I'll give you a date in early July for a status to rule on

24       this motion.

25                   THE CLERK:     Do you all want to come back maybe on
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1        July 7th?

2                    THE COURT:     Does that work?

3                    MR. JULIEN:     That will work.

4                    MS. HAYES:     I wouldn't be able to be here that week.

5        I've got a trial starting in Springfield.

6                    THE COURT:     All right.     Can you participate by phone?

7                    MS. HAYES:     Yes.

8                    THE COURT:     All right.     Why don't we do that.

9                    And, Ms. Lockhart, of course, you can participate by

10       phone too if you're not in Chicago.

11                   All right.     And --

12                   MR. DEISINGER:      Judge, actually, I'm going to be on

13       vacation that week.        If it's possible to --

14                   THE COURT:     Why don't we kick it one more week then.

15       Maybe we'll get everybody.

16                   THE CLERK:     How is July 14th for everybody?

17                   MR. JULIEN:     That works.

18                   MS. HAYES:     That works.

19                   MR. DEISINGER:      July 14th should be fine for me,

20       Judge.

21                   THE COURT:     And, Ms. Lockhart, does that work?

22                   MS. LOCKHART:      Yes, your Honor.

23                   THE COURT:     Okay.    I'll rule on this motion on

24       July 14th.

25                   I did want to have you in on another issue, though.                 I
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1        stayed this case because of the state foreclosure action, which

2        I wanted to -- what's happening with that?

3                    MR. JULIEN:     Your Honor, we were under the impression

4        that once this case was stayed, we might be able to resolve

5        everything before we went back into state court.                And I guess

6        there was a breakdown in communication.             We were expecting some

7        type of settlement action to happen.

8                    It wasn't until I noticed up the -- or I called Judge

9        Gilbert's chambers and asked for a settlement conference and he

10       set it for a status that we all kind of got together.

11                   And I think the takeaway from that is that settlement

12       might not be a possibility at this point.              And so we expect to

13       go back into state court and file something this week or next

14       week to try to get the state foreclosure action resolved.

15                   THE COURT:     Well, yeah.     The only reason I stayed it

16       was because I thought the state foreclosure action should

17       resolve itself first before this case went forward.                The keys

18       to resolving that, as I understood it, are with the plaintiff,

19       and you're the plaintiff in the state court.

20                   If you're not going to pursue that, I'm going to lift

21       the stay, if you're not going to aggressively pursue it.                    So

22       when you come back on July 14th, I'd like a report at that time

23       on what you've done to pursue and move that case along.                     State

24       foreclosure actions don't take forever; this one seems to have.

25                   And if you're going to move forward on that and I see
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1        some significant action being done to pursue that, I may

2        continue the stay here.         If I don't, I'll lift the stay here

3        because there's no point -- as I said, you've got the keys to

4        moving forward with that as the plaintiff.

5                    If -- you can report on July 14th on what's going on

6        in that case, and then I'll consider -- if there is a motion to

7        lift the stay, I'll consider it at that time.

8                    MR. JULIEN:     Understood.

9                    THE COURT:     And if there's a motion to keep the stay

10       on because there is some expected action in the state court, I

11       likely will.

12                   But I need to know what's happening in the state

13       court, and it sounds like you've said you're going to be taking

14       some action in there in the next week or two.               So I'll expect a

15       report on that on the 14th.

16                   MR. JULIEN:     Understood.

17                   THE COURT:     All right.     Great.    Thank you.

18                   Anything -- oh.      Anything else we need to discuss

19       today?

20                   MS. LOCKHART:      No, your Honor.

21                   We have a hearing after this with the magistrate --

22                   THE COURT:     All right.

23                   MS. LOCKHART:      -- regarding settlement.

24                   THE COURT:     Okay.    Well, if that is something that is

25       at all -- that works out, then, you know, let me know.                 We'll
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1        keep it on July 14th.        There's no point not proceeding on this

2        case.    So if things work out by way of a settlement or -- I

3        still have to decide the motion to vacate the default.                 But

4        when you come back on the 14th, you can tell me if you're

5        moving towards settlement or not.

6                    MS. HAYES:     I'll just state for the record that

7        defendant Kaplan has been excused from the settlement

8        conference at this time.

9                    THE COURT:     Okay.    Fair enough.     Well, it sounds like

10       the settlement will not involve defendant Kaplan.

11                   MS. HAYES:     It will not.

12                   THE COURT:     So on the 14th, we'll be reporting on the

13       remainder of the case.

14                   MS. HAYES:     Thank you.

15                   THE COURT:     Okay.    Anything else we need to discuss

16       today?

17                   MR. JULIEN:     No, your Honor.

18                   MS. HAYES:     No, your Honor.

19                   MS. LOCKHART:      Thank you.

20                   MR. DEISINGER:      No, Judge.

21                   THE COURT:     Okay.    Great.    We'll see you on the 14th.

22                   MS. HAYES:     Thank you.

23                   MR. DEISINGER:      Thank you.

24                   THE COURT:     Thank you.

25            (Concluded at 9:51 a.m.)
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1                                   C E R T I F I C A T E

2             I certify that the foregoing is a correct transcript of the

3        record of proceedings in the above-entitled matter.

4

5        /s/ LAURA R. RENKE___________________                   August 17, 2015
         LAURA R. RENKE, CSR, RDR, CRR
6        Official Court Reporter

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